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                    Exhibit A
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                                                       U.S. Department of Justice

                                                       Executive Office for United States Attorneys



Freedom of Information and Privacy Staff               Suite 5.400, 3CON Building           (202) 252-6020
                                                       175 N Street, NE                 FAX (202) 252-6048
                                                       Washington, DC 20530


                                                       August 23, 2021

Sent via email: alexandra.settelmayer@nytimes.com

Adam Goldman
New York Times
c/o Alexandra Settelmayer

Request Number:                 EOUSA-2021-002362
Subject of Request:             Self

Dear Adam Goldman:

         This letter is the third interim response to your Freedom of Information Act/Privacy Act
request dated June 25, 2014 to the Department of Justice, Office of Information Policy
(DOJ/OIP). OIP re-routed your request to the Executive Office for United States Attorneys
(EOUSA) for processing. The EOUSA initially assigned your request file numbers 2015-00342
and 2016-01466. We reassigned your request file number EOUSA-2021-002362. Please use
this file number when referencing this request. The EOUSA is the official record-keeper for all
records located within EOUSA and the various United States Attorneys’ Offices, to include the
District of Columbia.

       To provide you with the greatest degree of access authorized by the FOIA and the
Privacy Act, we have considered your request in light of the provisions of both statutes.

        The records you seek are located in a Privacy Act system of records that, in accordance
with regulations promulgated by the Attorney General, is exempt from the access provisions of
the Privacy Act. 28 CFR § 16.81. We have also processed your request under the Freedom of
Information Act and are making all records required to be released or considered appropriate for
release as a matter of discretion, available to you.

        Enclosed please find eight (8) pages released to you in full and/or in part. We reviewed
all the information that was redacted to determine if any information could be segregated
for release. The exemptions cited for withholding portions of records are listed below.

          5 U.S.C. § 552(b)(5), which protects from release information that is protected by the
          deliberative process privilege, the attorney work-product privilege, and the attorney-
          client privilege.

          5 U.S.C. § 552(b)(6), which protects from release personal privacy information that if
          released would constitute a clearly unwarranted invasion of personal privacy.
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        This partial release of information is the third interim response to this above-numbered
request. If you are not satisfied with the EOUSA’s determination in response to this request, you
may administratively appeal by writing to the Director, Office of Information Policy (OIP),
United States Department of Justice, 441 G Street, NW, 6th Floor, Washington, D.C. 20530, or
you may submit an appeal through OIP's FOIA STAR portal by creating an account following
the instructions on OIP’s website: https://www.justice.gov/oip/submit-and-track-request-or-
appeal. Your appeal must be postmarked or electronically transmitted within 90 days of the date
of my response to your request. If you submit your appeal by mail, both the letter and the
envelope should be clearly marked "Freedom of Information Act Appeal."

       You may contact our FOIA Public Liaison at the Executive Office for United States
Attorneys (EOUSA) for any further assistance and to discuss any aspect of your request. The
contact information for EOUSA is 175 N Street, NE, Suite 5.400, Washington, DC 20530;
telephone at 202-252-6020; or facsimile 202-252-6048. Additionally, you may contact the
Office of Government Information Services (OGIS) at the National Archives and Records
Administration to inquire about the FOIA mediation services they offer. The contact information
for OGIS is as follows: Office of Government Information Services, National Archives and
Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001; e-mail
at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-
741-5769.

                                                    Sincerely,


                                                    Kevin Krebs
                                                    Assistant Director

Enclosure(s)
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